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 Joseph R. Saveri (SBN 130064)                    David Strouss (pro hac vice forthcoming)
 Christopher K.L. Young (SBN 318371)              Evan Hoﬀman (pro hac vice forthcoming)
 Itak K. Moradi (SBN 310537)                      THORNTON LAW FIRM LLP
 David Lerch (SBN 229411)                         84 State Street, Fourth Floor
 JOSEPH SAVERI LAW FIRM, LLP                      Boston, MA 02109
 601 California Street, Suite 1505                Telephone: (617) 720-1333
 San Francisco, CA 94108                          Email:     dstrouss@tenlaw.com
 Telephone: (415) 500-6800                                    ehoﬀman@tenlaw.com
 Facsimile: (415) 395-9940
 Email:     jsaveri@saverilawﬁrm.com
                                                  David Bricker (SBN 158896)
            cyoung@saverilawﬁrm.com
            imoradi@saverilawﬁrm.com              THORNTON LAW FIRM LLP
            dlerch@saverilawﬁrm.com               2121 Avenue of the Stars, Suite 800
                                                  Los Angeles, CA 90067
 Robert L. Lieﬀ (SBN 37568)                       Telephone: (310) 282-8676
 P.O. Box A                                       Facsimile: (310) 388-5316
 Rutherford, CA 94573                             Email:     dbricker@tenlaw.com
 Telephone: (415) 250-4800
 Email:      rlieﬀ@lieﬀ.com

 Attorneys for Plaintiﬀs



                          UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFO RNIA


JONAS PEREZ-HERNANDEZ, ISABEL                  MDL No. 2741
PAZ-HERNANDEZ, MOISES PEREZ-PAZ,               Case No. 3:23-cv-04946
ALLISON PEREZ-PAZ, and ABIGAIL
PEREZ-PAZ, individually and on behalf of       PLAINTIFFS’ RESPONSE TO ORDER TO
all others similarly situated,                 SHOW CAUSE AS TO STANDING


                                 Plaintiﬀs,
                                               Place: San Francisco, Courtroom 4, 17th Floor
v.                                             Date: October 31, 2024
                                               Time: 2:00 p.m.
BAYER AKTIENGESELLSCHAFT, a
German joint-stock company; BAYER              Judge: Hon. Vince G. Chhabria
CORPORATION, and Indiana corporation;
and MONSANTO COMPANY, a Delaware
corporation,


                                 Defendants.




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         I.       INTRODUCTION

         Plaintiﬀs’ lawsuit seeks redress from Monsanto for their injuries resulting from exposure

to the toxin glyphosate contained in Monsanto’s widely marketed and sold Roundup herbicide.

Plaintiﬀs bring claims under California law for negligence, unfair competition, and declaratory

relief on behalf of a class of occupational workers, and seek relief in the form of a medical

monitoring program aimed at early detection, intervention, and diagnosis of NHL, a deadly

cancer linked to Roundup exposure. Plaintiﬀs allege Monsanto’s negligence has increased their

risk of future harm regardless of manifestation of current symptoms, for which medical

monitoring is an appropriate remedy under settled California law. See Potter v. Firestone Tire &

Rubber Co., 6 Cal. 4th 965, 1008-09, 863 P.2d 795, 824-25 (Cal. 1993). Because exposure to

toxic substances involves latent risks, California and numerous other states recognize medical

monitoring costs as compensation for exposure to toxic substances absent present physical injury;

indeed, state legislatures have begun codifying this right. 1

              is Court has ordered Plaintiﬀs to show whether they have alleged facts suﬃcient to

confer standing to bring this suit. Sept. 19, 2024 Hr’g Tr. at 26:8-11. As conﬁrmed at the recent

hearing, Monsanto raises a facial attack to Plaintiﬀs’ standing, as distinguished from a factual

attack.2 Savage v. Glendale Union High Sch., Dist. No. 205, Maricopa Cty., 343 F.3d 1036, 1039

n.2 (9th Cir. 2003) (explaining diﬀerent standards of review applicable to facial and factual

standing attacks).

         Plaintiﬀs have set forth with particularity suﬃcient facts to establish Article III standing,

i.e., that plausibly show injury-in-fact, traceability, and redressability. As set forth in Section

II.A., Plaintiﬀs allege facts upon which a ﬁnder of fact should rely under Potter to determine

whether the record ultimately demonstrates, through reliable medical expert testimony, that the

need for future monitoring is a reasonably certain consequence of plaintiﬀ's toxic exposure, and


1
 Vermont, Minnesota, and Ohio have introduced bills to codify the right for plaintiﬀs without
present injury to ﬁle lawsuits against chemical manufacturers for medical monitoring costs, and
Vermont signed the ﬁrst into law in 2022. 2022 VT S. 113 (Act 93).
2
 In its subsequent docket entry setting this OSC, the Court denied Monsanto’s motion to dismiss
as moot. ECF No. 19268.
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that monitoring is reasonable. Potter v. Firestone, 6 Cal. 4th at 1009.3     e Court has focused on

the third factor under Potter to ask whether Plaintiﬀs allege and could show a relative increase in

contracting NHL based on their exposure. Indeed, Plaintiﬀs allege a causal link between

glyphosate and Roundup, and that their exposure to Roundup has relatively increased their risk. 4

While, as set forth herein, the quantiﬁcation of that risk is disputed, Plaintiﬀs have plausibly

pled—and cited reliable evidence in support which would show—the increased risk of NHL from

glyphosate exposure. Facts which plausibly show credible increased risk are suﬃcient for

standing. And, as detailed in Sections II.B. and II.C., Plaintiﬀs have likewise suﬃciently alleged

their injury is traceable to Monsanto’s conduct and that the medical monitoring proposed would

redress future injury by enabling early detection and diagnosis of NHL through speciﬁc tests and

screening, and thereby would minimize future injuries and promote better health outcomes.

         Whether a plaintiﬀ seeking monitoring meets the Potter factors is a question generally

reserved for the trier of fact, as competent medical testimony is required to determine “whether

and to what extent a plaintiﬀ’s exposure to toxic chemicals in a given situation justiﬁes future

periodic monitoring.” Id.5 To the extent the Court’s standing inquiry would require the

consideration of evidence rather than an evaluation of Plaintiﬀs’ allegations, Plaintiﬀs ask for the

opportunity to develop the record through discovery and present it for adjudication to the Court. 6

         II.     STANDARD

         To establish standing, a plaintiﬀ must show it “(1) suﬀered injury in fact, (2) that is fairly



3
  Under Potter, in determining the reasonableness and necessity of monitoring, the following
factors are relevant: (1) the signiﬁcance and extent of exposure; (2) the toxicity of the chemicals;
(3) the relative increase in chances of developing a disease as a result of the exposure, when
compared to (a) plaintiﬀ's chances of developing the disease had he or she not been exposed and
(b) the chances that the public at large will develop the disease; (4) the seriousness of the diseases
for which plaintiﬀ is at increased risk; and (5) the clinical value of early detection and diagnosis.
4
    See First Amended Complaint (FAC), ECF. No. 62, MDL ECF No. 18914, ¶ 40, nn. 3, 4, 7.
5
  While this Court has extensively evaluated causation issues in the MDL, it also bears mention
that, because only individuals with NHL diagnoses have conducted discovery in the MDL, the
appropriateness of medical monitoring for NHL has yet to be suﬃciently explored.
6
 Ordinarily, analysis of Article III standing is not intended to be duplicative of an analysis of the
substantive merits of a claim. See Husain v. Campbell Soup Co., No. 24-CV-01776-CRB, 2024
WL 4011959, at *3 (N.D. Cal. Sept. 2, 2024).
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traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by a

favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (citing Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560–561 (1992)). At the motion to dismiss phase, the standing

hurdle should not be diﬃcult for plaintiﬀs to overcome. Rule 8 “demands more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009).7 It requires enough factual content that a court can draw reasonable inferences. Id.

With respect to standing, the plaintiﬀ’s complaint must provide “general factual allegations of

injury resulting from the defendant’s conduct . . .” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561

(1992); Warth v. Seldin, 422 U.S. 490, 518 (1975). A plaintiﬀ, however, need not “allege all of the

facts supportive of the chain of causation upon which his allegation of injury rests” because that

“would return [the courts] to the unpredictable and fact-laden system of code pleading.” Am. Soc.

of Travel Agents, Inc. v. Blumenthal, 566 F.2d 145, 156 (D.C. Cir. 1977) (C.J. Bazelton

dissenting).     us, when combined, Rule 8 and Article III do not require a technical form to plead

standing. A plaintiﬀ is simply required to allege enough facts to allow a court, by making

reasonable inferences, to satisfy itself that the plaintiﬀ is entitled to judicial action and redress.

          If a defendant makes a facial challenge, then a court need only “look to the complaint and

see if the plaintiﬀ has suﬃciently alleged a basis of subject matter jurisdiction.” Apex Digital, Inc.

v. Sears, Roebuck & Co., 572 F.3d 440, 443 (7th Cir. 2009) (emphasis in original); see Lawrence

v. Dunbar, 919 F.2d 1525, 1528 (11th Cir. 1990). Furthermore, “courts must accept as true all

material allegations of the complaint, and must construe the complaint in favor of the

complaining party.” Warth, 422 U.S. at 501; Levine v. Vilsack, 587 F.3d 986, 997 (9th Cir. 2009).

Additionally, at this stage, courts “presume[] that general allegations embrace those speciﬁc facts

that are necessary to support the claim” made. Lujan v. Nat'l Wildlife Fed'n, 497 U.S. 871, 889

(1990).     us, in a facial challenge, the court should ﬁll in the gaps to ﬁnd that standing exists, not




7
  A complaint need only include “a short and plain statement of the claim showing that the pleader
is entitled to relief.” Fed. R. Civ. P. 8(a)(2). at statement must simply provide “enough facts to
state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
(2007).
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undertake an evidentiary analysis that is not ripe. 8

         Recovery in a negligence action premised on future injury can proceed if a plaintiﬀ pleads

the need for medical monitoring is a reasonably certain consequence of the exposure and that the

monitoring itself is reasonable. See Potter, 6 Cal. 4th at 1008–09. Relevant to that inquiry are ﬁve

factors set forth by the California Supreme Court: (1) the signiﬁcance and extent of the plaintiﬀ's

exposure; (2) the toxicity of the chemicals; (3) the relative increase in the plaintiﬀ's chances of

developing a disease as a result of the exposure, when compared to (a) plaintiﬀ's chances of

developing the disease had he or she not been exposed and (b) the chances that the public at large

will develop the disease; (4) the seriousness of the diseases for which plaintiﬀ is at an increased

risk; and (5) the clinical value of early detection and diagnosis. Id.; see CACI No. 3903B.

         III.    ARGUMENT

                 A. Plaintiﬀs’ allegations of their increased risk for developing NHL are
                    suﬃcient to establish an injury-in-fact for standing purposes.

         Numerous courts around the country have long found that exposure to a toxin is suﬃcient

to satisfy the Article III injury-in-fact requirement where there is an increased risk of a future

medical condition. See Trujillo v. Ametek, Inc., No. 3:15-CV-1394-GPC-BGS, 2015 WL

7313408, at *6 –7 (S.D. Cal. Nov. 18, 2015); see also Riva v. Pepsico, Inc., 82 F. Supp. 3d 1045,

1052 (N.D. Cal. 2015) (“[i]ncreased risk of injury can suﬃce to establish an Article III injury-in-

fact where the increased risk of injury is credible and not conjectural.”) (citing Cent. Delta Water


8
 With a factual standing challenge, the burdens of proof and standard of review are far diﬀerent.
A party making a Rule 12(b)(1) factual challenge must present aﬃdavits or evidence. Savage v.
Glendale Union High Sch., Dist. No. 205, Maricopa Cnty., 343 F.3d at 1039 n.2. And, a court
“need not presume the truthfulness of the plaintiﬀs’ allegations.” White v. Lee, 227 F.3d 1214,
1242 (9th Cir. 2000); see Warth, 422 U.S. at 501 (plaintiﬀ should be provided opportunity to
present evidence beyond complaint to further assertions of standing).
If the Court does seek a factual showing of standing, Plaintiﬀs request jurisdictional discovery,
which “may be appropriately granted where pertinent facts bearing on the question of jurisdiction
are controverted or where a more satisfactory showing of the facts is necessary.” Boschetto v.
Hansing, 539 F.3d 1011, 1020 (9th Cir. 2008). “[I]f the existence of jurisdiction turns on disputed
factual issues, the district court may resolve those factual disputes itself” unless “the issue of
subject-matter jurisdiction is intertwined with an element of the merits of the plaintiﬀ's claim.” Id.
at 1121-22, 1122 n.3 (citations omitted). en, where factual disputes are suﬃciently intertwined
with the merits, the Court should apply standards for summary judgment, which include
opportunity to take discovery. See Augustine v. United States, 704 F.2d 1074, 1077 (9th Cir. 1983)
(citing ornhill Publ'g Co. v. Gen. Tel. Corp., 594 F.2d 730, 733-34 (9th Cir. 1979)).
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Agency v. United States, 306 F.3d 938, 950 (9th Cir. 2002)); Carlough v. Amchem Prods., Inc.,

834 F. Supp. 1437, 1451–52 (E.D. Pa. 1993) (citing cases holding that “exposure to a toxin

constitutes injury in fact under Article III”); Brown v. C.R. Bard, Inc., 942 F. Supp. 2d 549, 551

(E.D. Pa. 2013) (holding the plaintiﬀs suﬀered an injury suﬃcient for medical monitoring claims

because they alleged future harm from risk of ﬁlter implants fracturing); In re Valsartan,

Losartan, & Irbesartan Prod. Liab. Litig., No. MDL 2875 (RBK/JS), 2021 WL 100204, at *12

(D.N.J. Jan. 12, 2021) (concluding the plaintiﬀs suﬀered an injury suﬃcient to satisfy Article III

standing based on allegation of genetic and cellular damage from use of medicine containing

probable carcinogens).       is case is no diﬀerent.

          Under Ninth Circuit authority, an increased risk of injury suﬃces to establish an Article

III injury where the increased risk is credible and not conjectural. See Central Delta, 306 F.3d at

950 (plaintiﬀ need not await damage to establish harm from the violation, and evidence

established that at least a material dispute existed as to whether the violation alleged would create

a substantial risk of harm). A threat of harm is “credible” when the likelihood that the harm will

occur is suﬃciently alleged. Cf. Montana Env’tl Info. Ctr. v. Stone-Manning, 766 F.3d 1184,

1189 (9th Cir. 2014) (complaint devoid of allegations about likelihood of future harm failed to

allege actual or imminent injury); cf. Riva, 82 F. Supp. 3d at 1053 (dismissed because alleged

increased risk of harm to develop cancer from food coloring was based solely on studies testing

mice).9

          Plaintiﬀs suﬃciently plead an injury-in-fact that should be submitted to a trier of fact

because, when taken as true, the allegations show Plaintiﬀs face a credible risk of NHL. See

Trujillo, 2015 WL 7313408, at *6-7. Plaintiﬀs allege Monsanto manufactures and sells Roundup,

which contains glyphosate as its active ingredient. FAC ¶ 23. Plaintiﬀs allege glyphosate entered


9
  Monsanto relies heavily on Riva by asserting Plaintiﬀs have not alleged a credible risk of
exposure. Mot. at 5, 9, 10. In fact, Riva supports Plaintiﬀs’ claims and demonstrates why
Monsanto’s attack fails. In Riva, the District Court acknowledged that a plaintiﬀ who has not
experienced symptoms of disease has Article III standing to pursue claims for future injuries
where credibly alleged, but ultimately found plaintiﬀs’ allegations were not credible because their
alleged cancer risk was based solely on studies conducted on mice. 82 F. Supp.3d at 1052-1053.
   e plaintiﬀs had failed to allege a credible risk of cancer from exposure for humans. In contrast,
Plaintiﬀs allege speciﬁc studies in support of a causal link of glyphosate and NHL in humans.
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their bloodstream when they were exposed to Roundup over a substantial period. Id. ¶¶ 19-20.

Plaintiﬀs allege exposure of ten or more lifetime days is a minimum threshold for meaningful

injury in the form of NHL. ¶ 89.         ough there is evidence to the contrary regarding the studies

Plaintiﬀs have cited in support of the proposition that Roundup exposure quantiﬁably increases

the risk of NHL, see id. ¶ 40, nn.3, 4, 7, these studies at the very least support a ﬁnding that

increased exposure to glyphosate does increase the relative risk of contracting NHL and that there

is qualiﬁed expert testimony upon which a ﬁnding could be based. Indeed, while this Court has

speciﬁcally rejected some of those same studies as reliable for a quantiﬁcation of the risk by

which Roundup exposure causes NHL, it has also accepted them as a basis for the admissibility

under Rule 702 of expert opinions that there is nevertheless “a link…between glyphosate and

NHL,” from which a reasonable jury “could conclude that glyphosate can cause NHL at human-

relevant doses.” In re Roundup Prods. Liab. Litig., 390 F. Supp. 3d 1102, 1151–52 (N.D. Cal.

2018), aﬀ’d sub nom. Hardeman v. Monsanto Co., 997 F.3d 941 (9th Cir. 2021)). 10            ese studies

also tend to establish another core fact: “diﬀerentiat[ing] Roundup users who developed NHL

because they used the product from Roundup users who would have developed NHL regardless.”

Pretrial Order No. 84, In re Roundup Prods. Liab. Litig., No. 3:16-md-02741-VC (N. Cal. Feb.

24, 2019), ECF No. 2799. So too will Plaintiﬀs’ allegations that California and the IARC have

concluded glyphosate poses a signiﬁcant risk to humans, id. ¶¶ 30-36, 43; that nations around the

world and multiple U.S. cities have either restricted or banned the use of Roundup for health

reasons, id. ¶ 42; and that the Ninth Circuit has ordered the EPA to reconsider its decision

deeming glyphosate as unlikely to be carcinogenic because it found the EPA’s decision was

unsupported by science.          at report is due in 2026. Id. ¶¶ 37-38.11

          Trujillo is instructive.    ere, the court found that plaintiﬀs—presently uninjured students

10
  See also Bell, 344 F. Supp. 3d at 1226 (determining that underlying support for an expert
opinion deemed inadmissible in a separate case is inapposite because at motion to dismiss stage,
plaintiﬀ need only plausibly plead signiﬁcant exposure to a toxin to pursue a medical monitoring
claim, rather than plead facts showing a quantiﬁable increase in risk).
11
  Plaintiﬀs also allege Monsanto’s history of ghostwriting now-discredited studies and
undertaking massive eﬀorts to undermine the scientiﬁc community in establishing health risks
posed by Roundup. FAC ¶¶ 5, 44-57.
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and teachers exposed to a toxic waste plume in the vicinity of their school—had adequately

alleged an increased risk of a future medical condition under Potter.    e plaintiﬀs alleged (1) that

federal agencies had found human health risks from exposure to the chemicals at issue; (2) the

chemicals were particularly harmful for certain populations; and (3) a quantiﬁed increase in

cancer risk from exposure. Trujillo, at *5–7. Trujillo demonstrates why Monsanto cannot prevail

on its facial attack by disputing the studies or quarreling whether the increased risk of disease

from exposure to cancer is statistically signiﬁcant or large by some measure. Indeed, the Trujillo

court clariﬁed that plaintiﬀs need not claim an increase in the risk of developing cancer as

“signiﬁcant” for an action to survive. Trujillo, at *6. Allowing for compensation of medical

monitoring costs “does not require courts to speculate about the probability of future

injury…[but] merely…to ascertain the probability that the far less costly remedy of medical

supervision is appropriate.” Potter, 6 Cal. 4th at 1007–08.

       In addition, incurring likely costs of medical monitoring constitutes suﬃcient injury for

standing purposes. See Riva, 82 F. Supp. 3d at 1053–1054 (citing Friends for All Children, Inc. v.

Lockheed Aircraft Corp., 746 F.2d 816, 826 (D.C. Cir. 1984) (“an individual has an interest in

avoiding expensive diagnostic examinations just as he or she has an interest in avoiding physical

injury. . . .”) Among other things, Plaintiﬀs can show they are entitled to medical monitoring by

proﬀering expert medical testimony that they have an increased risk of disease that would warrant

a reasonable physician to order monitoring. See Day v. NLO, 851 F. Supp. 869, 881 (S.D. Ohio

1994). Injury in the form of an increased risk which would require one to incur the cost of

monitoring is suﬃcient. See Friends for All Children, 746 F.2d at 825. Plaintiﬀs who have been

exposed to the negligent conduct of a defendant thus have standing to bring a claim to be spared

the cost of future testing and diagnoses. See Riva, 82 F. Supp. 3d at 1053-54 (“even if there is no

proof of present physical injury, when “a defendant negligently invades this interest, the injury to

which is neither speculative nor resistant to proof, it is elementary that the defendant should make

the plaintiﬀ whole by paying for the examinations.”) (internal citation omitted).




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               B. Plaintiﬀs have suﬃciently alleged that their injury is traceable to
                  Monsanto’s conduct.

       Plaintiﬀs must establish a “line of causation” between defendants' action and their alleged

harm that is more than “attenuated.” Maya v. Centex Corp., 658 F.3d 1060, 1070 (9th Cir. 2011)

(quoting Allen v. Wright, 468 U.S. 737, 757, (1984)). Allegations of causation may even be

attenuated but are still suﬃcient where the links are “not hypothetical or tenuous” and remain

“plausibi[le].” Maya, 658 F.3d at 1070 (quoting Nat’l Audubon Soc., Inc. v. Davis, 307 F.3d 835,

849 (9th Cir. 2002)). Plaintiﬀs need not allege Defendants’ conduct is the proximate cause of

Plaintiﬀs’ injuries. Maya, 658 F.3d at 1070.

       Here, the causal chain is not only plausible but diﬃcult to refute. Monsanto discovered

glyphosate as an herbicide, then manufactured, labeled, and sold it commercially under the

Roundup brand. FAC ¶ 23. Despite its knowledge of extensive evidence of the dangers of

glyphosate and Roundup, Monsanto never added a warning label notifying consumers or workers

to use protective equipment or of the risks of exposure. Id. ¶¶ 44-58. Monsanto advertised

Roundup as safe to use without protective equipment. Id. ¶ 59. Monsanto did not warn Plaintiﬀs,

who were unaware of the risks during use. Id. ¶ 62, 89. Further, Plaintiﬀs would not have used the

product in the same manner had they been informed of its risks. Id. ¶ 80. Now that there is such

information, Plaintiﬀs with good reason fear that their signiﬁcant exposure to Roundup is likely to

result in NHL, fear that they continue to be exposed, and seek periodic diagnostic testing to

encourage early detection and intervention if needed. Id. ¶ 67.    e harm is traceable to Monsanto

for the purpose of determining whether Article III jurisdiction exists.

               C. Plaintiﬀs have suﬃciently alleged redressability through the program
                  proposed.

       A plaintiﬀ's burden to demonstrate redressability is “relatively modest.” Bennett v. Spear,

520 U.S. 154, 171 (1997). To satisfy the redressability requirement, a plaintiﬀ must plead facts

which plausibly show that the injury suﬀered would likely be redressed if the court granted the

relief requested. See Allen v. Wright, 468 U.S. 737, 753 n.19 (1984). A plaintiﬀ “need not

demonstrate that there is a guarantee that her injuries will be redressed by a favorable decision;

rather, a plaintiﬀ need only show a substantial likelihood that the relief sought would redress the

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injury.” Tucson v. City of Seattle, 91 F.4th 1318, 1325 (9th Cir. 2024) (citing M.S. v. Brown, 902

F.3d 1076, 1083 (9th Cir. 2018)).

          As noted above, Plaintiﬀs’ injuries include the increased cost of medical monitoring

required as a result of exposure to Roundup. See infra p.7. Plaintiﬀs assert injury in the form of

the cost of medical care, which is “real, concrete, and redressable by a medical monitoring fund

established by [this Court and which] suﬃces to establish plaintiﬀs’ standing.” Bell v. 3M Co.,

344 F. Supp. 3d at 1225.

             e relief Plaintiﬀs seek is plausible, speciﬁc, and premised squarely on the clinical value

of early detection and diagnosis that Potter will test. Based on their investigation, Plaintiﬀs have

identiﬁed eﬀective medical monitoring methods and procedures. As alleged, the medical literature

supports that early detection is one of the best and sometimes only means of treating NHL, which

is not typically curable in advanced stages, but early detection greatly increases chances of

eﬀective treatment and remission. FAC ¶¶ 67-68. Increased visits to a medical clinician will

necessarily reduce the risk of mortality from NHL. FAC ¶¶ 67-70. Moreover, since the increased

cost of medical monitoring is a redressable injury, a program under which Defendants—not

Plaintiﬀs—bear the cost redresses that injury. See Riva, 82 F. Supp. 3d at 1053–54. Access to

funded clinics will mean Plaintiﬀs can be (1) evaluated for whether they are showing symptoms

of cancer and require immediate further exam and (2) tested for whether they have biological

markers that indicate an increased risk of NHL and require an individualized care plan, all of

which will save lives.12 FAC ¶¶ 70-74. As Plaintiﬀs allege, DAGP-funded clinics currently exist

in the geographic areas where most agricultural workers and landscapers work and reside, and

therefore which provide existing infrastructure through which the proposed program could be

administered. Id. ¶ 75. Plaintiﬀs have thus alleged facts with requisite speciﬁcity as to the

availability, feasibility, and administration of speciﬁc epidemiologic testing that can detect signs



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   In fact, given the fact that many of those exposed in the agricultural setting may be uninsured
or underserved by the health system and medical establishment, and may not be aware of
potential health problems from Roundup exposure, the eﬃcacy of medical monitoring in this case
is signiﬁcantly enhanced.
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and risk-factors for the development of NHL in individuals who may not present with readily

observable symptoms but appear to be at increased risk of developing the disease. Id.      ese

methods are over and above ordinary typical care recommended for those who have not been had

minimum exposures to Roundup (deﬁned as indicated above at ten days), as these methods will

test for chromosomal changes indicating genotoxic eﬀects and for elevated immune marker

concentrations, which are early indicators of cancer risk. Id ¶¶ 72-73. 13 Like other cancers, early

diagnosis and treatment is key to better outcomes. Access to these tests could save someone’s life

by leading them to an earlier diagnosis, an assessment that they need treatment, and ultimately a

better prognosis and chance at survival.    us, the injury alleged—increased risk of NHL—is

clearly redressable by the medical care and program Plaintiﬀs have alleged.

         Ultimately, medical monitoring is an equitable remedy that may be used to recover

expected reasonable medical expenses in tort cases where a plaintiﬀ who has been exposed to a

harmful substance has developed symptoms due to exposure and is expected to seek related

ongoing medical care as result. It is not uncommon that doctors will agree medical attention is

needed but disagree on what monitoring or treatment course is best.      e appropriate medical

examination or tests will “naturally require expert testimony,” and uncertainty as to which tests

are best or when they should be administered is not cause to deny a claim for relief. Bell, 344 F.

Supp. 3d at 1227 (citing Redland Soccer Club, Inc. v. Dep’t of the Army & Dep’t of Def. of the

U.S., 548 Pa. 178, 196 (1997)).

IV.      CONCLUSION

           e Court should conclude Plaintiﬀs have adequately alleged standing and there is no

cause to dismiss the complaint. However, should the Court conclude that the allegations in FAC

alone are insuﬃcient to establish Article III standing, Plaintiﬀs respectfully request that the Court

either allow Plaintiﬀs to amend or to pursue Plaintiﬀs jurisdictional discovery.




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Dated: October 4, 2024               Respectfully Submitted,

                                     JOSEPH SAVERI LAW FIRM, LLP

                                    By: /s/ Joseph R. Saveri
                                    Joseph R. Saveri (SBN 130064)
                                    Christopher K. L. Young (SBN 318371)
                                    Itak K. Moradi (SBN 310537)
                                    David W. Lerch (State Bar No. 229411)
                                    JOSEPH SAVERI LAW FIRM, LLP
                                    601 California Street, Suite 1505
                                    San Francisco, CA 94108
                                    Telephone: (415) 500-6800
                                    Facsimile: (415) 395-9940
                                    Email:     jsaveri@saverilawﬁrm.com
                                               cyoung@saverilawﬁrm.com
                                               imoradi@saverilawﬁrm.com
                                               dlerch@saverilawﬁrm.com

                                    Robert L. Lieﬀ (SBN 37568)
                                    P.O. Box A
                                    Rutherford, CA 94573
                                    rlieﬀ@lieﬀ.com

                                    Attorneys for Plaintiﬀs




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